            Case MDL No. 2406 Document 269 Filed 07/17/15 Page 1 of 1




                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION


IN RE: BLUE CROSS BLUE SHIELD                                             MDL NO. 2406
ANTITRUST LITIGATION


To: Clerk of the Panel
    United States Judicial Panel on Multidistrict Litigation

Plaintiff, Recovery Village at Umatilla, LLC hereby gives notice of an error in the title of the

document noted on its Proof of Service filed with its Notice of Opposition (CTO-18) [Document

267]. Plaintiff hereby submits the attached corrected Proof of Service.

Dated this 17th day of July, 2015.

                                             Respectfully submitted,

                                             /s/ Eileen L. Parsons
                                             Eileen L. Parsons
                                             Jeremy L. Kahn
                                             Dale S. Dobuler
                                             Kristen A. Corpion
                                             Ver Ploeg & Lumpkin, P.A.
                                             100 SE Second Street, Suite 3000
                                             Miami, FL 33131
                                             Telephone: (305) 577-3996
                                             Fax: (305) 577-3559
                                             eparsons@vpl-law.com
                                             iromero@vpl-law.com
                                             jkahn@vpl-law.com
                                             ddobuler@vpl-law.com
                                             kcorpion@vpl-law.com

                                             Glenn J. Waldman, Esq.
                                             Waldman Trigoboff Hildebrandt
                                             Marx & Calnan, P.A.
                                             Broward Financial Center, suite 1700
                                             500 East Broward Boulevard
                                             Ft. Lauderdale, FL 33394
                                             Telephone: (954) 467-8600 ext. 102
                                             Fax: (954) 467-6222
                                             gwaldman@waldmanlawfirm.com
